AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                    for the                                                   -9
                                                     Western District of Texas
                                                                                                                                   mio55

                  United States of America                                                                                     -
                                V.
                                                                                                                                     .---
                     Jared Patton Roark                                       CaseNo.



                           Defendant(s)



                                                     CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                February 13th, 2018                 in the county of                  Travis             in the
     Western           District of           Texas              ,   the defendant(s) violated:

               Code Section                                                      Offense Description
Title 18, Section 922(g)(l)                   Felon in Possession of one or more firearms that have been shipped or
                                              transported in interstate or foreign commerce.




         This criminal complaint is based on these facts:
See attachment.




           1   Continued on the attached sheet.



                                                                                                       ainant     signature

                                                                                         Task Force Officer Chris Rybarski
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.


Date:
                                                                                  Andrew                  'S   signature

City and state:                                                                                   Magm          Jutipe
                                                                                                 Printed name and title
Criminal Complaint                                                                                AUSA D. Gardner



                                                    Attachment

The following information is a result of my investigation and information provided to me by other law enforcement
sources:

          Your affiant is Task Force Officer Chris Rybarski, who is employed by the City of Austin (Texas) Police
Department and currently assigned to Federal Bureau of Investigation (FBI), Joint Terrorism Task Force (JTTF). Your
affiant has been a police officer for over 20 years and has experience working firearms and domestic terrorism related
offenses.

         In March 2018, the FBI JTTF received information from the Austin Police Department about an individual
arrested for Aggravated Assault with a Deadly Weapon, 2" Degree Felony. The subject is identified as Jared Patton
ROARK. Austin Police Department executed an arrest and search warrant at the residence of ROARK, located at 2201
Willow Brook Drive #284, Austin, Travis County, Texas. The warrants were reviewed and approved by Austin
Municipal Court Judge Vigorito.

         The state arrest and search warrant stemmed from an incident that occurred on or about February 13, 2018.
On that date, two individuals, J. M. and A. C., drove to 2201 Willow Creek Drive #284, Austin, Travis County, Texas
to meet with ROARK and his girlfriend in order to return borrowed books. After arriving, ROARK's girlfriend
physically attacked A.C., striking and punching A.C. when A.C. exited the vehicle. A.C. stated while A.C. was under
attack, A.C. heard what sounded like a firearm being chambered. A.C. then observed ROARK walk towards J.M. and
point a firearm at J.M.'s head. A.C. said ROARK then yelled "wrap this up," at which time his girlfriend retreated
from hitting A.C. A.C. and J.M. then managed to get away in their vehicle, after which A.C. stated that J.M. was
observed bleeding in the head and face area.

         On February 13, 2018, J.M. was interviewed by the Austin Police Department and made statements consistent
with those of A.C. J.M. stated when J.M. and A.C. arrived at the apartment of ROARK, A.C. exited the vehicle and
was immediately attacked by ROARK's girlfriend. J.M. stated that J.M. exited the vehicle to attempt to intervene.
J.M. stated J.M. observed ROARK approaching with a black-semi automatic pistol. J.M. said ROARK approached
within an arms length and pointed the weapon at J.M.'s head. J.M. stated that ROARK said to J.M. "get back in the
car, and get the fuck out of here."

         On March 3, 2018, members of the Austin Police Department executed the above mentioned arrest warrant
for Aggravated Assault issued for ROARK at 2201 Willow Creek Drive #284, Austin, Travis County, Texas. During
the execution of the arrest warrant for ROARK at the residence, a weapon was observed in plain view which appeared
to match the description of the weapon used to commit the Aggravated Assault on February 13, 2018. Austin Police
Officers secured the apartment and advised detectives, who subsequently obtained the aforementioned state search
warrant for the residence. During the execution of the search warrant, multiple firearms and thousands of rounds of
ammunition were located and seized from the bedroom occupied by ROARK and his girlfriend. The following
firearms were seized from the apartment:

         Semi-Automatic Rifle - PAP, s/n M92PVO 11625

         Semi-Automatic Rifle, AK-47, s/n C 1004286, CII

         Semi-Automatic Rifle, AR-15, s/nKT1161865, Rock River Arms

         Semi-Automatic Rifle, AR- 15, s/n NS064966, American Tactical

         Semi-Automatic TEC 9, s/n 43365, INTRATEC

         Semi-Automatic Pistol .22mm, s/n WA16 1795, Walther

         The aforementioned weapons were seized and placed in evidence with the Austin Police Department.




                                                                                                              Page 1
Criminal Complaint                                                                                 AUSA D. Gardner


        While on scene ROARK's girlfriend stated to Austin Police Officers that all the firearms were legal and
belonged to Roark.

         On March 7, 2018, criminal history checks were conducted on ROARK using his personal identifiers known
to law enforcement and the checks revealed ROARK has been previously convicted of a felony offense on May 20,
2003, to wit:

         Graffiti Worship/BuriallPublic Monument/School (State Jail Felony punishable by confinement in state jail
for not more than 2 years, or less than 180 days; in addition, a fine not to exceed$ 10,000 may be imposed)

         368th District Court- Georgetown, Williamson County, Texas
         Cause # 00-433-K368
         Sentenced to 7 months in state jaill$2500 fme after final adjudication/revocation of a 5 year term   of deferred
         adjudication

           Said conviction prohibits ROARK from possessing any firearm or ammunition under federal law. On March
8,2018, your affiant received confirmation from Bureau of Alcohol, Tobacco, Firearms, and Explosives(ATF) Special
Agent Daniel Mueller, who is certified in firearms nexus determinations, that the fireanns seized by the Austin Police
Department at 2201 Willow Creek Drive #284 Austin, Travis County, Texas on March 3, 2018 and listed herein, did
in fact travel in interstate and/or foreign commerce prior to being recovered in the execution of the search warrant at
the residence.

          Based on the above information, your affiant believes probable cause exists to show that Jared Patton
ROARK has violated Title 18 United States Code, Section 922 (g)(l) in Austin, Travis County, Western Judicial
District of Texas.




                                                                                                                 Page 2
